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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


JOSHUA ADAMS, ET AL                                                 *       CIVIL ACTION

VERSUS                                                              *       No. 08-0755

OCCUPATIONAL MEDICINE SERVICES, L.L.C., ET AL                       *       SECTION "C" (2)


                                   ORDER OF DISMISSAL

       The Court having been advised by counsel for the parties that all of the parties to this
action have firmly agree upon a compromise,
       IT IS ORDERED that the action be and is hereby dismissed without costs and without
prejudice to the right, upon good cause shown within 60 days, to reopen the action if settlement
is not consummated.


               COUNSEL ARE REMINDED THAT, IF WITNESSES HAVE
               BEEN SUBPOENAED, EVERY WITNESS MUST BE
               NOTIFIED BY COUNSEL NOT TO APPEAR.


       New Orleans, Louisiana, December 8, 2008




                                                          HELEN G. BERRIGAN
                                                     UNITED STATES DISTRICT JUDGE
